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             Trustee's Preferred Methodology For Document Turnover
Trustee                 Preferred Method for Turnover           Trustee's Contact Information

Louisville

William Stephen Reisz   Electronic documents via email          TrusteeReisz@gmail.com
Michael E. Wheatley     Electronic documents via email; Paper   PO Box 1072, Prospect, KY 40059
                        documents or documents on CD/DVD        502−744−6484
                        via mail; NO FAXES                      mwheatleytr@gmail.com
Robert W. Keats         Paper documents; electronic             PO Box 221377 Louisville, KY
                        documents via email; NO FAXES           40252−1377; 502−587−8787;
                                                                rkeats@bellsouth.net
William W. Lawrence     Electronic documents via email only     wlch7ecf@gmail.com
Paducah

Mark Little             Via BlueStylus                          trustee@littlelawky.com
Bowling Green

Jerry A. Burns          Via DocLink                             www.doclink.bms7.com
                        Via email, by Adobe Acrobat &           burnstrustee@bellsouth.net
                        Bookmarked
Mark H. Flener          Via DocLink                             www.doclink.bms7.com
                        Electronic format via email             mflener@bellsouth.net
                                                                deannalancaster@bellsouth.net
Alicia C. Johnson       Via DocLink                             www.doclink.bms7.com
                        Electronic format via email             bkalicia@hotmail.com
                                                                bk_bruce@hotmail.com
                                                                KY52@ecfcbis.com
Owensboro

Harry L. Mathison       Prefer emailed documents                hmathison@kdblaw.com
Bradley Salyer          Electronic format via email             salyertrustee@gmail.com
          Case 19-11261-jal            Doc 9       Filed 12/11/19          Entered 12/12/19 00:54:13                Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 19-11261-jal
Gene K Edgar                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: vschiller                    Page 1 of 1                          Date Rcvd: Dec 09, 2019
                                      Form ID: 254                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 11, 2019.
db             +Gene K Edgar,   3900 Banyan CT., #D,   Bowling Green, KY 42104-5320

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 11, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 9, 2019 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Harlan E. Judd, III   on behalf of Debtor Gene K Edgar Harlanjuddlaw@gmail.com,
               juddlawsecretary@gmail.com
              Jerry Burns    burnstrustee@bellsouth.net, KY35@ecfcbis.com
                                                                                            TOTAL: 3
